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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

In re:                                                           Case No. 16-32679
         BEVERLY M MOFFETT

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Thomas H. Hooper, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 10/13/2016.

         2) The plan was confirmed on 12/05/2016.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
12/19/2017, 02/12/2019, 12/17/2019, 10/06/2020, 06/08/2021.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 03/27/2023.

         6) Number of months from filing to last payment: 77.

         7) Number of months case was pending: 82.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                     $26,375.00
           Less amount refunded to debtor                                   $36.63

NET RECEIPTS:                                                                                                   $26,338.37



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                          $3,871.76
     Court Costs                                                                        $0.00
     Trustee Expenses & Compensation                                                $1,281.28
     Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                $5,153.04

Attorney fees paid and disclosed by debtor:                            $128.24



Scheduled Creditors:
Creditor                                                Claim         Claim            Claim        Principal         Int.
Name                                    Class         Scheduled      Asserted         Allowed         Paid            Paid
Acceptance Now                      Unsecured             1,708.00            NA              NA            0.00          0.00
Acceptance Now                      Secured               1,000.00            NA         1,000.00       1,000.00         86.32
AFS ACCEPTANCE                      Unsecured             3,717.00            NA              NA            0.00          0.00
AMERICAN PROFIT RECOVERY            Unsecured               150.00            NA              NA            0.00          0.00
AMERICASH LOANS LLC                 Unsecured               263.00         281.77          281.77         281.77         47.37
CAB SERVICES                        Unsecured               102.00            NA              NA            0.00          0.00
COOK COUNTY TREASURER               Unsecured                  NA             NA         2,278.00       2,278.00        384.65
COOK COUNTY TREASURER               Secured               2,400.00       4,678.00        2,400.00       2,400.00          0.00
FIRST PREMIER BANK                  Unsecured               611.00            NA              NA            0.00          0.00
LVNV FUNDING LLC                    Unsecured               356.00         391.19          391.19         391.19         66.00
MERRICK BANK                        Unsecured               873.00         848.76          848.76         848.76        143.24
MONTEREY FINANCIAL SVC              Secured                 400.00            NA           400.00         400.00         17.27
MONTGOMERY WARD                     Unsecured               147.00            NA              NA            0.00          0.00
NPRTO ILLINOIS LLC                  Unsecured               300.00       2,046.31        2,046.31       2,046.31        345.03
NPRTO ILLINOIS LLC                  Secured                 500.00            NA              NA            0.00          0.00
PERITUS PORTFOLIO SERVICES          Secured               4,350.00       8,047.80        8,047.80       8,047.80      1,120.18
REGIONAL RECOVERY SERVICES          Unsecured               375.00         820.39          820.39         820.39        137.05
SYNCHRONY BANK                      Unsecured               135.00            NA              NA            0.00          0.00
VILLAGE OF MARKHAM                  Secured                 324.00            NA           324.00         324.00          0.00
ZAPLO LOANS                         Unsecured             1,000.00            NA              NA            0.00          0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal               Interest
                                                                    Allowed                 Paid                   Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00               $0.00                   $0.00
        Mortgage Arrearage                                            $0.00               $0.00                   $0.00
        Debt Secured by Vehicle                                   $8,047.80           $8,047.80               $1,120.18
        All Other Secured                                         $4,124.00           $4,124.00                 $103.59
 TOTAL SECURED:                                                  $12,171.80          $12,171.80               $1,223.77

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00                $0.00                $0.00
         Domestic Support Ongoing                                      $0.00                $0.00                $0.00
         All Other Priority                                            $0.00                $0.00                $0.00
 TOTAL PRIORITY:                                                       $0.00                $0.00                $0.00

 GENERAL UNSECURED PAYMENTS:                                      $6,666.42            $6,666.42              $1,123.34



 Disbursements:

          Expenses of Administration                                    $5,153.04
          Disbursements to Creditors                                   $21,185.33

 TOTAL DISBURSEMENTS :                                                                                 $26,338.37



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/03/2023                                  By: /s/ Thomas H. Hooper
                                                                                  Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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